                              3:19-cv-03195-CSB # 25         Page 1 of 4
                                                                                                    E-FILED
                                                                 Thursday, 24 September, 2020 01:44:18 PM
                                                                               Clerk, U.S. District Court, ILCD




Piain tiff/Petitioner

                  Vs.




                                 PROOF/CERTIFICATE OF SERVICE

TO: ~~.;....:...;.;=---:..~=-::......:c...,.::;_;,__   TO: /6,-,. -:L.d&r, Coluv hz.tl,y;g ~
                                                       l,{,,5 . hs-n-1~ Obu,,.1-,,r
                                                       C~tA\ b,5,fkc., o:t: g,/h;t..0/S
                                                        U:___.:_A'VA1 ~l • kl 9tJa..-E348
        PLEASE TAKE NOTICE that at: (/.<f.i) .@PM        j.q_ffff'Yl?i   f.(. d-cf, 202f} I
placed the documents listed below in the institutional mail at t:::bl..A-/J
                                                                          Ar13 0, C-.
Correctional Center, properly addressed to the parties listed above for mailing through the
United States Postal Service.




Pursuant to 28 USC 1746, 18 USC 1621 or 735 ILCS 5/1-109 I declare, under penalty of perj ury
that I am a named party in the above action, that I have read the above documents, and that
t he information contained therein is true and correct to the best of my knowledge and belief.




Revised 4/1S/16
    3:19-cv-03195-CSB # 25   Page 2 of 4




    77tJAJ T O




                                           'T
6
3:19-cv-03195-CSB # 25   Page 3 of 4
                            3:19-cv-03195-CSB # 25   Page 4 of 4




                                                                    "




                                .,

                                               bo to & , l--{)1'S
        OFFICIAL SEAL
NOTARY PUBLIC · STATE OF ILLINOIS
 MY COMMISSION EXPIRES:03/18/23
